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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

  INNOVATIVE ACCOUNTING
  SOLUTIONS, INC., a Michigan
  Corporation, individually and as the
  representative of a class of similarly-
  situated persons,
                                                   Case No. 1:15-cv-00793-PLM-PJG
                                                   Hon. Judge Paul L. Maloney
                 Plaintiff,
                                                   Magistrate Phillip J. Green
         v.

  CREDIT PROCESS ADVISORS, INC.,
  and ACCOUNT ADJUSTMENT
  BUREAU, INC.,

                 Defendants.


         ORDER REGARDING DEPOSITION OF DOROTHY SUE MERRYMAN

        The Court, having reviewed the parties’ stipulation and for good cause shown, grants

 Defendant Account Adjustment Bureaus, Inc.’s (“AAB’s”) request to take the deposition of non-

 party Declarant, Dorothy Sue Merryman, on August 3, 2021.

        AAB shall file its response to the motion to amend class definition within 14 days of

 completion of the deposition as previously ordered by the Court [ECF #114].

        SO ORDERED.

 Date: ___________                                  ______________________
                                                    Hon. Judge Paul L. Maloney
                                                    U.S. District Court Judge
